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TENY R. GERAGOS
ADMITTED IN NY AND CA

                                                                    October 16, 2018

         MA Ec:v
         Honorable Nicholas G. Garaufis
         United States District Judge
         I Eastern District of New York
         225 Cadman Plaza liast
         Brooklyn, NY 11201

                   Re:   United States v. Keith Raniere. et al.. 18 Cr. 204(NGG)

         Dearjudge Garaufis;

                I represent the defendant Keith Raniere in above-captioned matter. On October 15,
         2018, I appeared before the Honorable A. Kirke Bardey, Justice of the New York County^
         Supreme Coun,in the matter ofPeople v. Dilber Kukic. et al.. Ind. No. 74/2016. I explained
         to Justice Bartley that Your Honor has set a date for opening statements and trial in
         the Raniere case for March 18, 2019 preceded by jury selection. In light of the Government's
         statement that its direct case would last about four weeks and allowing for a possible defense
         case and holidays in jVpril,Justice Bardey scheduled the Kukic case to proceed to trial on May
         6, 2019. The District Attorney's Office estimates that the People's (direct case will last three
         months. Therefore, the Kukic matter is likely to proceed until well into August 2019.

                 I advise Your Honor of this development for two reasons. First, as the Courtis aware,
        it has ordered that no counsel in die Raniere matter shall schedule any matter for trial between
        January 1,2019 and June 30,2019, without permission of this Court.(See Dkt. No. 138, Order
        on Complex Case Designation at p. 3-4.) Therefore, this letter seeks permission to commence
        the Kukic trial according to the above schedule. Second, if the Court allows the undersigned
        to commence the Kukic on May 6, 2019,1 would want this Court and all parties to know that
        the Kukic trial would last throughout die summer and would end likely in August 2019.
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 Brafman & Associates, RC.
          I thank the Court for its attention to this matter.



                                                                Respectfully,



                                                                Marc Agnifilo


    cc:   All Counsel (via KCh')




             iLo
               s/Nicholas G. Garaufis
